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Pro Se 8 (Rev. 12/16) Complaint for Violation of Fair Labor Standards



                                        UNITED STATES DISTRICT COURT
                                                                        for the
                                                              District
                                                        __________     of Maryland
                                                                    District of __________

                                                                __________ Division
                                                             Greenbelt/Southern Division


                                                                                  Case No.
                                                                          )
                                                                                                 (to be filled in by the Clerk’s Office)
                                                                          )
                              Plaintiff(s)                                )
(Write the full name of each plaintiff who is filing this complaint.      )
If the names of all the plaintiffs cannot fit in the space above,
                                                                                  Jury Trial: (check one)         Yes          No
                                                                          )
please write “see attached” in the space and attach an additional
page with the full list of names.)                                        )
                                  -v-                                     )
                                                                          )
                                                                          )
                                                                          )
                                                                          )
                                                                          )
                              Defendant(s)
(Write the full name of each defendant who is being sued. If the          )
names of all the defendants cannot fit in the space above, please         )
write “see attached” in the space and attach an additional page           )
with the full list of names.)



                       COMPLAINT FOR VIOLATION OF FAIR LABOR STANDARDS

I.        The Parties to This Complaint
          A.         The Plaintiff(s)

                     Provide the information below for each plaintiff named in the complaint. Attach additional pages if
                     needed.
                                Name
                                Street Address
                                City and County
                                State and Zip Code
                                Telephone Number
                                E-mail Address


          B.         The Defendant(s)

                     Provide the information below for each defendant named in the complaint, whether the defendant is an
                     individual, a government agency, an organization, or a corporation. For an individual defendant,
                     include the person s job or title (if known). Attach additional pages if needed.


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                     Defendant No. 1
                                Name
                                Job or Title (if known)
                                Street Address
                                City and County
                                State and Zip Code
                                Telephone Number
                                E-mail Address (if known)


                     Defendant No. 2
                                Name
                                Job or Title (if known)
                                Street Address
                                City and County
                                State and Zip Code
                                Telephone Number
                                E-mail Address (if known)


                     Defendant No. 3
                                Name
                                Job or Title (if known)
                                Street Address
                                City and County
                                State and Zip Code
                                Telephone Number
                                E-mail Address (if known)


                     Defendant No. 4
                                Name
                                Job or Title (if known)
                                Street Address
                                City and County
                                State and Zip Code
                                Telephone Number
                                E-mail Address (if known)



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          C.         Place of Employment

                     The address at which I am employed or was employed by the defendant(s) is

                                Name
                                Street Address
                                City and County
                                State and Zip Code
                                Telephone Number


II.       Basis for Jurisdiction

          This action is brought pursuant to (check all that apply):

                                 Fair Labor Standards Act, as codified, 29 U.S.C. §§ 201 to 209.
                                 Relevant state law
                                 Relevant city or county law

III.     Statement of Claim

         State as briefly as possible the facts of your case. You may wish to include further details such as the names of
         other persons involved in the events giving rise to your claims. Do not cite any cases. If more than one claim is
         asserted, number each claim and write a short and plain statement of each claim in a separate paragraph. Attach
         additional pages if needed.

         A.          Nature of employer s business:




         B.          Dates of employment:




         C.          Employee s job title and a description of the kind of work done:




         D.          Rate, method, and frequency of wage payment:


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         E.          Number of hours actually worked each week in which a violation is claimed:




         F.          Description of the alleged violation(s) (check all that apply):
                                    Failure to pay the minimum wage (explain)




                                    Failure to pay required overtime (explain)




                                    Other violation(s) (explain)




         G.          Date(s) of the alleged violation(s):




         H.          Additional facts:




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IV.      Relief

         State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
         arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include the
         amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any punitive
         or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or punitive
         money damages.




V.       Certification and Closing

         Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
         and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
         unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
         nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
         evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
         opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
         requirements of Rule 11.



         A.           For Parties Without an Attorney

                      I agree to provide the Clerk s Office with any changes to my address where case–related papers may be
                      served. I understand that my failure to keep a current address on file with the Clerk s Office may result
                      in the dismissal of my case.

                      Date of signing:


                      Signature of Plaintiff
                      Printed Name of Plaintiff

         B.           For Attorneys

                      Date of signing:


                      Signature of Attorney
                      Printed Name of Attorney
                      Bar Number


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                      Name of Law Firm
                      Street Address
                      State and Zip Code
                      Telephone Number
                      E-mail Address




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